Case 2:20-cr-20120-TLP Document 47-1 Filed 10/28/20 Pagelof3 PagelD 86

C

si Memphis Police Department
= Advice to Witness Viewing
Photographic Display

Witness: im Steven 567

Offense Number: _|G™ 0-0 5259 ME

 

 

I have been advised that I will soon be viewing several photographs of individuals for the
purpose of identification concerning the above referenced crimie. I understand that this is
an important procedure designed to clear the innocent as well as to insure accurate and

viable identification of the guilty. Accordingly, the procedure described below will be
followed.

1. The photographic display will contain pictures of persons of similar descriptions
in similar poses.

2. There is no significance to the order in which the photos will appear.

The persons pictured may or may not have anything to do with the suspect offense

and I am not to assume that the guilty party must be one of the persons
represented.

During the interviewed process, no one is to give me any hints or suggestions or
attempt to influence my identification in any way.

5. IfI make an identification, it will be done in writing.

Date: ¥-} Y | 4

   
 

: i
_ Witness signature

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“Officer Signature

DS The witness made a positive identification and stated number_|
was one of the individual(s) involved in this crime.

The witness was unable to make a positive identification.

Updated 12-18

     
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MEMPHIS POLICE DEPARTMENT
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8/12/2019

 
 
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